                          1   McCormick, Barstow, Sheppard,
                              Wayte & Carruth LLP
                          2   Hilton A. Ryder,#54470
                                hilton.ryder@mccormickbarstow.com
                          3   16A1 North Fresno Street
                              Fresno, California 93720
                          4   Telephone:      (559)433-1300
                              Facsimile:      (559)433-2300
                          5
                              Attorneys for Vitus Nutrition
                          6

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                          8                               UNITED STATES BANKRUPTCY COURT

                          9                                      DISTRICT OF NEW MEXICO

                      10      In re                                              Case No. 17-12356-11

                      11      LAS UVAS VALLEY DAIRIES,                           Chapter 11
                              A New Mexico general partnership.
                     12
                                              Debtor
                     13

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                                NOTICE OF ADMINISTRATIVE CLAIM OF VITUS NUTRITION 11 USC 509(bV9)
                     15
                                      Notice is hereby given that Vitus Nutrition assets a Cost of Administration Claim in the
                     16
                              amount of$26,221.02,for product delivered to Debtor on September 6,2017,within twenty(20)days
                     17
                              ofthe filing ofthe above captioned case on September 15,2017. Vitus Nutrition filed Claim No. 10-1
                     18
                              asserting a total claim of$78,753.51 that included three deliveries ofproduct,the first on August 21,
                     19
                              2017, for $26,150.44 which remains a general unsecured claim; the second on September 6, 2017,
                     20
                              which is entitled to priority as a 503(b)(9) Cost of Administration claim for $26,221.02 and is the
                     21
                              subject ofthis Notice; and the third on September 15,2017,for $26,440.05 which amount has been
                     22
                              paid as an ordinary course of business Cost of Administration Claim. A copy of Claim No. 10-1 is
                     23
                              attached to this Notice as Exhibit A.
                     24
                                      This Notice is provided pursuant to ARTICLE V,Paragraph 5.1 and 5.2 ofthe confirmed plan
                     25
                              as modified by Order Confirming Plan entered June 14,2018,which provides for filing ofthis Notice
                     26
                              within fifteen(15)days of the Effective Date of June 14, 2018.
                     27
                                      \\\\\
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MCCORMtCK, BARSTOW,
 SHEPPARD.WAYTE&
    Carruth LLP
                  Case 17-12356-t11
7M7 NORTH FRESNO STREET

    FRESNO.CASS720
                                                Doc 465       Filed 06/25/18   Entered 06/25/18 13:55:50 Page 1 of 9
                           1   Dated: June ( ^,2018                                 McCORMICK,BARSTOW,SHEPPARD,
                                                                                           WAYTE & CARRUTH LLP
                           2

                           3

                           4
                                                                                                Hilton A.^yder
                           5                                                              Attorneys for Vitus Nutrition
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                           9   99930-00011 5195604,1


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McCormick, Barstow,
 Sheppard, Wayte &
    CARRUTH LLP
                  Case 17-12356-t11
7«47 NORTH FRgSNO STREET
    FRESNO. OA 937»
                                                       Doc 465   Filed 06/25/18   Entered 06/25/18 13:55:50 Page 2 of 9
 Fill in this Information to identify the case:                                                     EXHIBirA"
                                                                                                                                FILED
 Debtftfl     lAStA/ASVAIIPynAIRIPfi
                                                                                                                               Baakraptcy Court
 Debtor 2                                                                                                                District ofNew Mexico
 fSnoiisA                                                                                                                       10/10/2017
 United States Bankmptey Hniirt Platrtct of Mew Mexico
 Caseniimher 17--1ga5fi
                                                                                                                       Lana Merevwettter, Clerk



Official Form 410
Proof of Claim                                                                                                                                        12/15

Read the Instructions before filling out this form.This form is for making a claim for payment In a bankruptcy ease. Do not use this form to
make a requestfor payment ofan administrative expense. Make such a request according to 11 U.S.C.§503.

Filers must leave out or redact information that Is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
documents that support the claim,such as promissory notes,purchase orders, Invoices, itemized statements of running accounts, contracts,iuogments,
mortgages, and security agreements. Do not send original documents;they may be destroyed after scanning, if the documents are not available,
explain in an attachment.

A person who files a fraudulent claim could be fined up to $500,000, Imprisoned for up to 5 years, or both. 18 U.S.C.§§ 152,157, and 3571.

Fill in ail the Information about the claim as ofthe date the case was filed. That date Is on the notice of bankruptcy(Form 309}that you received.

            Identify the Claim
1.Who Is the current            Vitus Nutrition
  creditor?
                                Name of the current creditor(the person or entity to be paid for this claim)

                                Other names the creditor used with the debtor


2.Has this claim been             Q     No
  acquired from                   □     Yes. From whom?
  someone else?

3.Where should notices           Whqiro should hotk^ to                                         WhereShoutd payihenteld^ci^Iprlbeeeht?
  and payments to the                        'i"                                                different)!    •                                  ^
  creditor be sent?               ^     Nutrition
  Federal Rule of                Name                                                           Name
  Bankruptcy Procedure
  (FRBP) 2002(g)                 PO Box 738
                                 TurIoclc,CA 95381-0738



                                 Contact phone.                                                 Contact phone

                                 Contact email _                                                Contact email _

                                 Uniform claim identifier for electronic payments in chapter 13 (if you use one):


I.Does this claim amend                 No
  one already filed?              □     Yes. Claim number on court claims registry (if known)                       Filed on


                                                                                                                                MM/nn/YYYY
5.Do you know if anyone                 No
  else has filed a proof □              Yes. Who made the earlier filing?
  of claim for this claim?

Official Form 410                                                      Proof of Claim                                                 pagei




      Case 17-12356-tll Claim 10-1 Filed 10/10/17 Desc Main Document Page 1 of 3
     Case 17-12356-t11 Doc 465 Filed 06/25/18 Entered 06/25/18 13:55:50 Page 3 of 9
         Give Information About the Claim as of the Date the Case Was Filed
S.Do you have any           0 No
  number you use to         □   Yes. Last 4 digits of the debtoi's account or any numljer you use to Identify the debtor
  identify the debtor?

7.Howmuch is the                  78753.51                       Does this amount include interest or other charges?
 claim?                                                           Q No
                                                                  O Yes. Attach statement Itemizing Interest, fees, expenses, or
                                                                      other charges required by Bankruptcy Rule 3001(c)(2)(A).
S.What is the basis of      Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful
  the claim?                death, or credit card. Attach redacted copies of any documents supporting the claim required bv
                            Bankruptcy Rule 3001 (c).
                            Limit disclosing information that is entitled to privacy, such as healthcare information.
                                 Goods sold to Debtor


9. is all or part of the    BNo
   claim secured?           □ Yes. The claim Is secured by a lien on property.
                               Nature of property:
                                □ Real estate. If the claim is secured by the debtor's principal residence, file a Mortgage
                                                      Proof of Claim Attachment (Official Form 410-A) with this Proof of Claim.
                                 □ Motor vehicle
                                 □ Other. Describe:


                                 Basis for perfection:

                                 Attach redacted copies of documents, if any. that show evidence of perfection of a security
                                 interest (for example, a mortgage, lien, certificate of title, financing statement, or other
                                 document that shows the lien has been filed or recorded.)
                                 Value of property:                        $

                                 Amount of the claim that Is
                                 secured:
                                 Amount of the claim that Is                                                    (The sum of the secured and
                                 unsecured:                                                                    -unsecured amounts should
                                                                                                                match the amount In line 7.)

                                 Amount necessary to cure any default as of the                    $
                                 date of the petition:                                           / _

                                 Annual interest Rate (when case was filed)                                     %

                                 □ Rxed
                                 □ Variable
lO.is this claim based on   Q    No
   a lease?                 □ ves. Amount necessary to cure any default as of the date of the petition. $

11.1s this claim subject to B    No
   a light of setoff?       □ Yes. Identify the property:




Official Form 410                                             Proof of Claim                                                 page?




      Case 17-12356-tll Claim 10-1 Filed 10/10/17 Desc Main Document Page 2 of 3
     Case 17-12356-t11 Doc 465 Filed 06/25/18 Entered 06/25/18 13:55:50 Page 4 of 9
12.1s all or part of the claim     □      No
   entitled to priority under
    11 U.S.c76'so7fafc             B Yes. Check aU that apply.                                                                 Amount entitled to priority
    A claim may be partly                □ Domestic support
                                                    su      obligations (including alimony and child support) $
     priority and partly                     under 11     U.S.C. § 507(a)(1)(A) or (a)(1)(B).
     nonpriority. Por example,
     in some categories, the             □ Up to $2,775* of deposits toward purchase, lease, or rental of                       $
     iawl imits the amount                   property or services for personal, family, or household use. 11                    —
    entitled to priority.                    U.S.C. 1507(a)(7).
                                         □ Wages, salaries, or commissions .(up to $12,475*) earned within                      $
                                             180 days before the bankruptcy petition is filed or the debtor's                   —
                                           business ends, whichever is earlier. 11 U.S.C. § 507(a)(4).
                                         □ Taxes or penalties owed to governmental units. 11 U.S.C. §                           s
                                           507(a)(8).                                                        1
                                         □ Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5). $

                                         B Other. Specify subsection of 11 U.S.C. § 507(a)(2) that applies                      $ 52641.07

                                         * Amounts are subject to adjustment on 4/1/16 and every 3 years after that for cases begun on or after the date
                                         of adjustment.

Part 3:     Sign Below
 The person completing           Check the appropriate box:
 this proof of claim must
 sign and date It FRBP           □       I am the creditor.
 9011(b).
                                 B       I am the creditor's attorney or authorized agent.
 If you file this claim
 electronically, FRBP            □       I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
 S005(a)(2) authorizes courts    □ I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
 to establish local rules
 specifying what a signature     I understand that an authorized signature on this Proof of Claim senres as an acknowledgment that when calculating
                                 the amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
 A person who files a            I have examined the infoimatlon In this Proof of Claim and have a reasonable belief that the Information is true
 fraudulent claim could be       and correct.
 fined up to $500,000,
 Imprisoned for up to 5          I declare under penalty of peijury that the foregoing is true and correct.
 years, or both.
 18U.S.C.§§152,157 and
 3671,
                                 Executed on date                 10/10/2017

                                                                 MM/DD/VYYY



                                 /s/ Hilton Ryder

                                 Signature

                                 Print the name of the person who is completing and signing this claim:
                                 Name                                          Hilton Ryder

                                                                               Rrst name       Middle name        Last name
                                 Title                                         Attomey

                                 Company                                       McCormick Barstow, LLP

                                                                               Identify the corporate servicer as the company if the authorized agent is a
                                                                               servicer
                                 Address                                       PO Box 28912

                                                                               Number Street

                                                                               Fresno, CA 93729-8912

                                                                               City State ZIP Code
                                 Contact phone              559-4323-1300                       Email         hilton.iyder@mccoimickbarstow.com

Official Form 410                                                      Proof of Claim                                                    page 3




         Case 17-12356-tll                 Claim 10-1            Filed 10/10/17             Deso Main Document                      Page 3 of 3
      Case 17-12356-t11                   Doc 465           Filed 06/25/18                Entered 06/25/18 13:55:50 Page 5 of 9
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                           Case 17-12356-tll         Claim 10-1 Part 2         Red 10/10/17      Desc Attachment 1   Pagel
                                                                               ofl




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                           1   McCormick, Barstow, Sheppard,
                               Wayte & Carruth LLP
                           2   Hilton A. Ryder,#54470
                                 hilton.iyder@mccormickbarstow.com
                           3   7647 North Fresno Street
                               Fresno, California 93720
                           4   Telephone: (559)433-1300
                               Facsimile:    (559)433-2300
                           5
                               Attorneys for Vitus Nutrition
                           6

                           7

                           8                              UNITED STATES BANKRUPTCY COURT

                           9                                      DISTRICT OF NEW MEXICO

                       10      In re                                              Case No. 17-12356-11

                       11      LAS UVAS VALLEY DAIRIES,                           Chapter 11
                               A New Mexico general partnership.
                       12
                                             Debtor
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                       14                                            PROOF OF SERVICE

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MCCORMICK,BARSTOW,
 SHEPPARD,WAYTE &
    CARRUTH LLP
                   Case 17-12356-t11
7S47 NORTH FRESNO STREET                        Doc 465        Filed 06/25/18   Entered 06/25/18 13:55:50 Page 7 of 9
    FRESNO. CA 03720
                                                                    PROOF OF SERVICE

                          2   STATE OF CALIFORNIA,COUNTY OF FRESNO

                          3         At the time of service, I was over 18 years of age and not a party to this action. I am
                              employed in the County of Fresno, State of California. My business address is 7647 North Fresno
                          4   Street, Fresno, CA 93720.

                          5           On June      ,2018,1 served true copies ofthe following document(s)described as NOTICE
                              OF ADMINISTRATIVE CLAIM OF VITUS NUTRITION 11 USC 509(b)(9) on the interested
                          6   parties in this action as follows:

                          7                                  SEE ATTACHED SERVICE LIST

                          8           BY MAIL: I enclosed the document(s) in a sealed envelope or package addressed to the
                              persons at the addresses listed in the Service List and placed the envelope for collection and mailing,
                          9   following our ordinary business practices. I am readily familiar with this business's practice for
                              collecting and processing correspondence for mailing. On the same day that the correspondence is
                     10       placed for collection and mailing, it is deposited in the ordinary course of business with the United
                              States Postal Service, in a sealed envelope with postage fully prepaid.
                      11
                                     I declare under penalty of perjury under the laws of the United States of America that the
                     12       foregoing is true and correct and that I am employed in the office ofa member ofthe bar ofthis Court
                              at whose direction the service was made.
                     13
                                     Executed on June        2018, at Fresno, California.
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                     16                                                           my G. derrick

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McCormick, Barstow,
 Sheppard, Wayte &
    CarruthLLP
                  Case 17-12356-t11
7M? NORTH FRESNO STREET
    FRESNO. CA asm
                                                Doc 465     Filed 06/25/18     Entered 06/25/18 13:55:50 Page 8 of 9
                           1                                              SERVICE LIST

                           2

                           3   Alice Nystel Page                                    Las Uvas Valley Dairies
                             United States Trustee                                  c/o ASKEW & MAZEL,LLC
                           4 PO Box 608                                             George M. Moore, Esq.
                               Albuquerque, NM 87103                                1122 Central Ave SW,Ste 1
                           5                                                        Albuquerque. NM 87102

                           6   Production Credit Association of Southern NM         MODRALL SPERLING ROEHL HARRIS &
                               c/o ROGGOW LAW,LLC                                   SISK,P.A.
                           7   James A. Roggow,Esq.                                 Paul M.Fish, Esq.
                               205 W.Boutz Rd., Bldg. 2, Ste. C                     Douglas R. Vadnais, Esq.
                           8   Las Cruces, NM 88005                                 Spencer L. Edelman, Esq.
                                                                                    PO Box 2168
                           9                                                        Albuquerque. NM 87103

                      10       BAKER        DONELSON   BEARMAN, Gary A. Barnes
                               CALDWELL & BERKOWITZ,PC          1600 Monarch Plaza
                      11       Susan C. Mathews                 3414 Peachtree Road, N.E.
                               1301 McKinney, Ste 3700          Atlanta, GA 30326
                      12       Houston. TX 77010

                      13       Philip Mitchell, Esq.
                               THE CAVANAGH LAW FIRM,P.A.
                      14       1850 North Central Avenue
                               Ste 2400
                      15       Phoenix. AZ 85004

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MCCORMICK, BARSTOW,
 ShEPPARD, WAYTE&
    CARRUTH LLP
                  Case 17-12356-t11
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    FRESNO.CA 03720
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